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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION


  Kristina Hornback,                                   Case No.: 4:23-cv-04191-LLP
            Plaintiff,
                                                       NOTICE OF SETTLEMENT AS TO
  v.                                                   DEFENDANT NELNET SERVICING,
                                                       LLC D/B/A FIRSTMARK SERVICES

  Nelnet Servicing, LLC, d/b/a Firstmark
  Services, and Equifax Information Services,
  LLC


           Defendants.
       Plaintiff, by and through undersigned counsel, hereby notifies the Court that Plaintiff has

reached a settlement in the above-referenced matter with Defendant Nelnet Servicing, LLC

Firstmark Services (“Firstmark”). Plaintiff and Firstmark are in the process of finalizing the

settlement, whereupon Plaintiff will move for dismissal with prejudice. Plaintiff anticipates that

the settlement and dismissal of claims against Firstmark will be finalized within the next sixty (60)

days. Plaintiff has now reached settlements with all Defendants.

       Dated:    April 15, 2024

                                           /s/ Jacob Dawson
                                           Jacob Dawson
                                           Lammers, Kleibacker, Dawson and Miller, LLP
                                           108 N. Egan Ave. PO Box 45
                                           Madison, SD 57042
                                           Telephone: (605) 256-6677
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                                           Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE
     I hereby certify that on April 15, 2024, I electronically transmitted the foregoing document

to the Clerk’s Office using the ECF system for filing and transmittal of a Notice of Electronic

Filing to all CM/ECF registrants of record in this matter.

                                           /s/ Jacob Dawson
                                           Jacob Dawson




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